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                                                    June 8, 2018


BY EMAIL

Hon. Naomi Reice Buchwald
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

              Re:       United States v. William McFarland, No. 17-cr-600 (NRB)
Dear Judge Buchwald:

       This letter is respectfully submitted to request authorization for my client, J.                           -~,~
William McFarland, to travel to Pennsylvania on Saturday, June 9, 2018, for th
day, to celebrate his grandparents' 60 th anniversary. He plans to travel with his
parents and return the same day. I have sought permission from the Governmen
but have not heard back from them. The Government has approved similar travel~~""'
before in this case. I appreciate Your Honor's consideration.              ~~

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                                                    Respectfully submitted,


                                                    _Is/ R. Jackson_ _ _ __
                                                    Randall W. Jackson




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